           Case 1:19-cr-00305-LY Document 61 Filed 05/15/20 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                         FIR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA                   )


                     V.                    )            NO. 1:19-cr-00305-LY-1


DAVID RANDLE JAKOBEIT                      )



    DEFENDANT’S UNOPPOSED MOTION TO CONTINUE SENTENCING SETTING

TO THE HONERABLE JUDGE YEAKEL:

       COMES NOW Defendant, David Jakobeit (“Mr. Jakobeit”) by and through undersigned
counsel and hereby files this Defendant’s Unopposed Motion to Continue Sentencing Setting in
the above-styled and numbered cause, and in support thereof would show the following:


                                                I.

       This cause is currently set for:

                      Sentencing:                         June 12, 2020


                                               II.

       Undersigned counsel requests that the above date be continued by at least sixty (60)
days because of the COVID-19 pandemic.


                                               III.

       Undersigned counsel requests that the Court extend the sentencing setting by at least
sixty (60) days.


                                                                                               1
           Case 1:19-cr-00305-LY Document 61 Filed 05/15/20 Page 2 of 4




                                                  IV.

       The Assistant United States Attorney Mark Marshall was contacted about this Motion
and he is unopposed.


                                                  V.

       This Motion is made not for the purpose of delay only, but so that justice may be done.




       WHEREFORE, PREMISES CONSIDERED, Movant prays for the Court to continue the
sentencing setting by at least sixty (60) days.




                                                                         Respectfully submitted,
                                                                         ____________________
                                                                                   Daniel Betts

                                                                          Attorney for Defendant
                                                                            1106 San Antonio St.
                                                                             Austin, Texas 78701
                                                                     admin@blackburnbetts.com
                                                                          (512) 478.9898 (office)
                                                                       (512) 478-1114 (facsimile)
                                                                         State Bar No. 24073132




                                                                                                  2
         Case 1:19-cr-00305-LY Document 61 Filed 05/15/20 Page 3 of 4




                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing Motion was forwarded to the
opposing counsel in accordance with the TEXAS RULES OF CRIMINAL PROCEDURE on this 15th
day of May 2020.




                                                                       Respectfully submitted,

                                                                      ____________________

                                                                                  Daniel Betts




                                                                                            3
            Case 1:19-cr-00305-LY Document 61 Filed 05/15/20 Page 4 of 4




                      IN THE UNITED STATES DISTRICT COURT
                         FIR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA                    )

       V.                                   )             NO. 1:19-cr-00305-LY-1

DAVID RANDLE JAKOBEIT                       )



                                           ORDER

       ON THIS DATE came on to be considered Defendant’s Unopposed Motion to Continue

Sentencing Setting, and the requested relief is hereby:

(GRANTED)         (DENIED)



       SIGNED THIS _____DAY OF ____________________, 20 ____.

                                                          ____________________________
                                                          UNITED STATES DISTRICT JUDGE




                                                                                         4
